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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Emoji Company GmbH
                                                          Plaintiff,
v.                                                                     Case No.:
                                                                       1:22−cv−03652
                                                                       Honorable Nancy L.
                                                                       Maldonado
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto, et al.
                                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 10, 2023:


        MINUTE entry before the Honorable Nancy L. Maldonado: Pursuant to Plaintiff's
notice of voluntary dismissal, Defendants No. 57 (Bedorm) and No. 116 (Move Over) are
dismissed with prejudice. Each party to bear its own costs and fees. In light of the
dismissal, the remaining portion of Plaintiff's motion for entry of a preliminary injunction
which covered Defendants Move Over and Bedorm [35] is denied as moot, and
Defendants Move Over and Bedorm's motion to dismiss is [46] is also denied as moot.
Plaintiff having indicated that these were the only two defendants remaining in this case,
see [56] at 1, this civil case is terminated. (ca, )




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